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Filing # 75935672 E-Filed 08/03/201810:24:28 AM

  FORM 1.997. CIVIL COVER SHEET

  The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
  or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
  Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
  completion.)



       I.              CASE STYLE
                                               IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                                                IN AND FOR MIAMI-DADE COUNTY, FLORIDA



                                                                           Case No.:_ _ _ _ _ _ __
                                                                           Judge: _ _ _ _ _ _ __

   Plaintiff
                   vs.

   Defendant


       II.             TYPE OF CASE

                                                                                     o     Non-homestead residential foreclosure
               o Condominium                                                               S250,00 or more
               o   Contracts and indebtedness                                        o     Other real property actions $0 - S50, 000
               o   Eminent domain                                                    o     Other real property actions $50,001 - $249,999
               o   Auto negligence                                                   o     Other real property actions 5250,000 or more
               o   Negligence - other
                   o      Business governance
                                                                                     o     Professional malpractice

                   o      Business torts
                                                                                             o     Malpractice - business

                   o      EnvironmentalfToxic tort                                           o     Malpractice - medical
                   o      Third party 'Indemnification
                                                                                             b!.   Malpractice - other professional
                                                                                     I2J   Other
                   o      Construction defect
                   o      Mass tort                                                          0     Antitrustrrrade Regulation
                                                                                             Q     Business Transaction
                   !:J.   Negligent security
                   o      Nursing home negligence
                                                                                             0     Circuit C[vil- Not Applicable
                   o      Premises liability - commercial
                                                                                             0     Constitutional challenge-statute or
                                                                                                   ordinance
                   o      Premises liability - residential
                                                                                             0     Constitutional challenge-proposed
               o   Products liability                                                              amendment
               o   Real Property/Mortgage foreclosure                                        0     Corporate Trusts
                   o Commercial foreclosure $0 - $50,000                                     I2J   Discrimination-employment or other
                   o Commercial foreclosure $50,001 - $249,999                               0     Insurance claims
                   o      Commercial foreclosure $250,000 or more                            Q     Intellectual property
                   o      Homestead residential foreclosure SO - 50,000                      0     Libel/Slander
                   o      Homestead residential foreclosure $50,001 -                        Q     Shareholder derivative action
                          $249,999
                                                                                             [I    Securities litigation
                    o     Homestead residential foreclosure $250,000 or
                                                                                             0     Trade secrets
                          more
                   Q      Non-homestead residential foreclosure $0 -
                                                                                             0     Trust litigation
                          $50,000
                   Jd     Non-homestead residential foreclosure
                          850,001 - S249,999




                                                             COMPOSITE EXHIBIT "B"
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                                                 COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes 0 No_~


        III.    REMEDIES SOUGHT (check all that apply):
                   iZ Monetary;
                   iZ Non-monetary declaratory or injunctive relief;
                   o Punitive
        IV.     NUMBER OF CAUSES OF ACTION: (
                (Specify)




        V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                    Q Yes
                    iZ No

        VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   [g) No
                   DYes - If "yes" list all related cases by name, case number and court:




        VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                    iZ Yes
                    Q No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature s/ Anthony !vI Georges-Pierre        FL Bar No.: 533637
          Attorney or party                                               (Bar number, if attorney)

        Anthonv M Georges-Pierre         08/0312018,
              (Type or print name)                                           Date
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                                                           iN THE CIRCUIT COURT OF THE 11TH
                                                           JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI-DADE COUNTY, FLORIDA

    AMANDA JONES,                                          CASE NO.:   20tb-=-Cll~_S           CJ\ (L
              Plaintiff,

    v.

    EMERALD CONSTRUCTION CORP.,
    a Florida Profit Corporation,

              Defendant.
                                                       I

                                              COMPLAINT

            Plaintiff, AMANDA JONES ("Plaintiff'), by and through the undersigned counsel, hereby

     files this Complaint against Defendant, EMER.,<\LD CONSTRUCTION CORP. ("Defendant"),

    and in support states as fallows:

                                        .HJRISEHCnON AND VENUE

         L This action seeks damages in excess of $15,000.00, independent.of attorney's fees, costs,

    and interest, as a result of Defendant's sexual harassment, sex discrimination, retaliation, and

    termination ofP!aintiff's employment in violation ofthe Florida Civil Rights Act, §760.0 1, et seq.,

    Florida Statutes ("FCRA") and Title VI! of the Civil Rights Act of 1964,42 U.S.C. §2000e, et seq.

    ("Title VII").

         2. Plaintiff was at all relevant times a resident of Miami-Dade County, Florida.

         3. Plaintiff was a.t all relevant times an "employee" of Defendant, as defined by the FCRA.

         4. At all relevant times, Defendant was Plaintiffs employer and employed no less than j 5 or

    more employees for each of 20 or more work weeks in the cunen! or preceding year.
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        5. At all relevant times, Defendant conduced business in Miami-Dade County, and the actions

   and events that are the subject of this lawsuit occurred within Miami-Dade County.

        6. Defendant is accordingly an "'employer" as defined by the FCRA.

        7. Plaintiff alleges causes of action for sex discrimination, sexual harassment. and retaliation

   under the FCRA and Title VII, as a result of the sexual harassment she experienced by Defendant

   and as a result of her retaliatory dismissal from employmcnt with Defendant.

        8. As more fully set forth below, Plaintiff filed a Charge of Discrimination with the Equal

   Employment       Opportunity   Commission      ("EEOC")     on   September 28,      20]7,     claiming

   discrimination based on sex and sexual harassment.

        9. Plaintiffs Charge of Discrimination was dual filed with the Florida Commission on Human

    Relations CFCHR"), the state equivalent of the EEOC.

        1O. More than 180 days have passed since the filings of Plaintiffs Charge of Discrimination.

        11. PlaintifI'has already received a Notice of Rights ("Right to Sue") letter from the EEOC.

        12. Plaintiff has accordingly exhausted her administrative remedies prior      (0   initiating the

    instant suit.

                                      FACTUAL ALLEGATIONfi

        13. Plaintiff was employed by Defendant from on or about June 20, 201710 on 01' about August

   31,2017 as an Assistant Project Manager.

        14. Throughout her employment with Defendant, Plaintiff perfomled all of her duties and

   assignments in an exemplary fashion.

        15. Plaintiff was hired by Chad Mulligan, Executive Supervisor/Construction Manager, who

   oversaw Plaintiffs work and the work of other employees on Plaintiffs team.



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        16. Throughout her employment with Defendant, Plainhff was directly supervised by .Toe

    Lester, Senior Project Manager, who was authorized to act on behalf of Defendant.

         J7. Throughout her employment with Defendant, Mr. Lester sexually harassed Plaintiff

    through verbal means and through means of haraBsing and inappropriate text messages.

         18. Many of the text messages sent by Mr. Lester included specific sexual innuendo directed

    at Plaintiff, such aB a text message from on or about August 24, 2017 when Mr. Lester told Plaintiff

    "1 think I deserve a little reach around. for thal .... .Iol."

         19. On one occasion, with regards to a text message previously sent by Mr. Lester, Mr. Lester

     told Plaintiff that she would "look cute in turquoise Mustang."

        20. Mr. Lester only wanted to speak to Plaintiff regarding her social life and personal

     relationships, and never about work..related issues.

        21. Mr. Lester often sent messages about his own personal life, which were never prompted or

    requested by Plaintiff.

        22. The actions of Mr. Lester only served to make work place interactions more difficult and

    stressful, which caused Plaintiff to have problems finishing work assignments.

        23. Plaintiff was given mnch more work aBsign.ments than other male members of her team,

    and as described above, the discrimination and harassment she faced while working for Defendant

    only served to cause her to fall behind at work.

        24. On or about August 1,2018, as a direct result of the severe emotional distress from tbe

    interactions she had with Mr. Lester, Plaintiff had a seizure while Ollt to dilmer with a friend,

    though only after Plaintiff discussed with her friend the harassment and discrimination she was

    receiving at work.



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        25. On or about August 1,2018, the City of Miami Fire Department was called to the scene of

    Plaintiirs seizure, where they administered treatment to Plaintiff on-scene.

        26. Plaintiff was also discriminated against and harassed by Ted Mowen, an architect on

    Plaintiff's project based out of Atlanta, Georgia, who said to Plaintiff "this isn't the first lime a

    woman has told me where to go,"

        27. Plaintiff often complained to Mr. Mulligan about the discrimination and harassment she

    received while working for Defendant. including the interactions with Me. Lester and Mr. Mowen,

    but no steps or actions to remedy the discrimination or harassment were ever taken.

        28. Defendant harbored a work environment of harassment and discrimination against

    Plaintiff, and when Plaintiff informed her supervisors about said environment, nothing was ever

    done to remedy the situation,

        29. On or about August 31, 2017, as a direct result of the discriminatory and harassing

    environment that she was forced to endure, and seeing no end to that discrimination and harassment

    in sight, Plaintiff was given no choice but to quit her employment with Defendant as a result of a

    constructive discharge.

                                                   COUNT I.
                                 Gender Discrimination ill Violation a/tire FCRA

        30. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-29 above as

    if set out in full herein.

        31. Plaintiff is a member of a protected class under the FeRA.

        32. By the conduct described above, Defendant has engaged in discrimination against Plaintiff

    because of Plaintiffs gender and subjected the Plaintiff to gender-based animosity.

        33. Such discrimination was based upon the Plaintiffs gender in that Plaintiff would not have



                                                       "
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    been the object of discrimination but for the fact that Plaintiff is female.

        34. Defendant's conduct complained of herein was willful and in disregard of Plaintiffs

    protected rights. Defendant and its supervisory personnel were aware that discrimination on the

    basis of gender was unlawful but acted in reckless disregard of the law.

        35. At all times material hereto, the employees exhibiting discriminatory conduct towards

    Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaintiffs

    employment with the Defendant.

        36. Defendant retained all employees who exhibited discriminatory conduct toward the

    Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

        37. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

    has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage.

        38. The conduct of Defendant, by and through the conduct of its agents, employees, and/or

    representatives, and the Defendant's failure   10   make prompt remedial action to prevent continued

    discrimination against the Plaintiff, deprived the Plaintiff of statutOlY rights under federal law.

        39. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and

    with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

    Plaintiff to damages in the form of compensatory and punitive damages pursuant 10 state and

    federal law, to punish the Defendant for its actions and to deter it, and others, from slich actioll in

    the future.

        40. Plaintiff has suffered and will continue to sliffer both irreparable injury and compensable

    damages as a result of Defend,mt' S discriminatory practices unless and until this Honorable Court

    grants relief.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

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            a. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                 intentionally, and 'with reckless disregard for Plaintiff's rights;

            b. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                 adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                 employment practices described herein;

            C.   Enter an award against Defendant and award Plaintiff compensatory damages for

                 mental anguish, personal suffering, and loss of enjoyment of life;

            d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                 full benefits Plaintiff would have had Plaintiff no! been discriminated against by

                 Defendant, or in lieu of reinstatement, award front pay;

            e. Award Plaintiff the costs ortbis action, together with a reasonable attorneys' fees; and

            f.   Grant Plaintiff such additional relief as the Court deems just and proper under the

                 circumstances.

                                                 COUNTH
                                    Retaliation in Vio!.atitm of Ihe FCRA

        41. Plaintiff re-adopts each and evel-Y factual allegation as stated in paragraphs 1-29 of this

    complaint as if set out in full herein.

       42. Plaintiff is a member of a protected class under the FCR..A..

       43. By the conduct described above, Defendant retaliated against Plaintiff for exercising rights

    protected under the FCRA.

       44. Defendant's conduct complained of herein was willful and in disregard of Plaintiffs

    proteded rights. Defendant and its supervisory personnel were aware that discrimination on the

    basis of gender was unlawful but acted in reckless disregard of the law.

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        45. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

    has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage.

        46. The conduct of Defendant, by and through the conduct of its agents, employees, andlor

    representatives, and Defendant's failure to makc prompt remedial action to prevent continued

    discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.

        47. The actions of the Defendant and/or its agents were willful, wanton, and intentional, and

    with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

    Plaintiff to damages in the fonn of compensatory and PIUlitive damages pursuant to federal law,

    to punish the Defendant for its actions and to deter it, and others, from such action in the future.

        48. Plaintiff has suffered and will continue to sufter both irreparable ilUury and compensable

    damages as a result of Defendant's retaliatory practices unless and until this Honorable Court

    grants relief.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

            a. Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                intentionally, and with reckless disregard for Plaintiff's rights;

            b. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                adjustment, and prejudgment interest at amounts 10 be proved at trial for the unlawful

                employment practices described herein;

            c. Enter an award against Defendant and award Plaintiff compensatory damages for

                menta! anguish, personal suffering, and loss of enjoyment of life;

            d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                full bencfits Plaintiff would have had Plaintiff not been discriminated against by

                Defendant. or in lieu of reinstatement, award front pay;

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             e.   Award Plaintiff the costs of this action, together with a reasonable attorneys' fees; and

             f    Grant Plaintiff such additional relief as the Court deems just and proper under the

                  circumstances.

                                              COUNT III
                                Sexual Harassment in Violation of lire FerrA

         49. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-29 of this

     complaint as if set out in full herein.

         50. Plaintiff is a member of a protected class under the FCRA.

         51. As part of its protections, the FCRA prohibits sexual harassment.

         52. The conduct (0 which Plaintiff was subjected was severe, pervasive, physically threatening,

     humiliating, and unreasonably interfered with Plaintiffs work performance in violation of the

     FCRA.

         53. The harassing conduct to which Plaintiff was subjected was perpetrated against her as a

     result of her gender (female), and constituted actionable sexual harassment.

         54. Plaintiffrejcetcd Mr. Lester's and Mr. Mowcn's sexual advances.

         55. Defendant's alleged bases for the adverse conduct against Plaintiff are prclextual and

     asserted only to cover up the harassing, discriminatory, and retaliatory nature of their conduct.

         56. As a result of the sexually harassing conduct to which Plaintiff was subjected and the

     adverse emplo}1nent actions suffered by Plaintiff related thereto, Plaintiffhas experienced and will

     continue to experience significant financial and economic Joss in the form of lost wages and lost

     benefits. Plaintiff has also experienced and will continue to experience emotional anguish, pain

     and suffering and loss of dignity damages.

     WHEP,J!:FORE, Plaintiff respectfully prays for the following relief against Defendan!:


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             a. Adjudge and decree that Defendant has violated the FeRA, and has done so willfully,

                  intentionally, and with reckless disregard for Plaintiffs rights;

             b. Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                  adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                  employment practices described herehl;

             c. Enter an award against Defendant and award Plaintiff compensatory damages for

                  mental anguish, personal suffering, alld loss of enjoyment of life;

             d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                  full benefits Plaintiff would have had Plaintiff not been discriminated against by

                  Defendant, or in lieu of reinstatement, award front pay;

             e. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees; and

             f.   Grant Plaintiff such additional relief as the Court deems just and proper under the

                  circumstances.

                                                   COUNTi~
                                  Gender Discrimifll1fMn in Violation of Title VII

         57. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-29 above as

     if set out in full herein.

         58. Plaintiff is a member of a protected class under Title VIr.

         59. By the conduct described above, Defendant has engaged in discrimination against Plaintiff

     because of Plaintiff's gender and subjected the Plaintiff to gender-based animosity.

         60. Such discrimination was based upon the Plaintiffs gender in that Plaintiff would not have

     been the object of discrimination but for the fact that Plaintiff is female.

         6 L Defendant's conduct complained of herein was willful and in disregard of Plaintiffs


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     protected rights. Dcfendant and its superviSOry personnel were aware that discrimination on the

     basis of gender was unlawful but acted in reckless disregard of the Jaw.

         62. At all times material hereto, the employees exhibiting discriminatory conduct towards

     Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaintiffs

     employment with the Defendant.

         63. Defendant retained all employees who exhibited discriminatory conduct toward the

     Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

         64. As a result of Defendant's actions, as allcged herein, Plaintiff has been deprived of rights.

     has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage.

         65. The conduct of Defendant, by and tln'ough the eonduct of its agents, employees, andlor

     representatives, and the Defendant's failure to make prompt remedial action to prevent continued

     diserimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.

         66. The aelions of the Defendant andlor its agents were willful, wanton, and intentional, and

     with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

     Plaintiff to damages in the foml of compensatory and punitive damages pursuant to state and

     federal law, to punish the Defendant for its actions and to deter it, and others, ti-om such action in

     the future.

         67. Plaintiff has suffered and will continue to suffer both irreparable injury and compensable

     damages as a result of Defendant's discriminatory practices unless and lmtil this Honorable Court

     grants relief.

     WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

             a. Adjudge and decree that Defendant has violated Title Vll, and has done so willfully,

                   intentionally, and with reckless disregard for Plaintiffs rights;

                                                         10
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             b. Enler a judgment requir.ing that Defendant pay Plaintiff appropriate back pay, benefits'

                  adjustment, and prejudgment interest at amounts to be proved at trial for the unia"ful

                  employment practices described herein;

             c. Enter an award against Defendant alld award Plaintiff compensatory damages for

                  mental anguish, personal suffering, and loss of enjoyment oflife;

             d. Require Defend8-nt to reinstate Plaintiff to the position at the rate of pay and with the

                  full benefits Plaintiff would have had Plaintiff not been discriminated against by

                  Defendant, or in lieu ofreinstatement, award front pay;

             c. Award Plaintiff the costs of this action, together with a reasonable attorneys' fees; and

             f.   Grant Plaintiff such additional relief as the Court deems just and proper under the

                  circumstances.

                                                 COUNT V
                                     i<etaUatkm in Violetion of Title VlJ

         68. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-29 of this

     complaint as if set out in fut! herein.

         69. Plaintiff is a member of a protected class under Title VB.

         70. By the conduct described above, Defendant retaliated against Plaintiff for exercising rights

     protected under Title VII.

        71. Defendant's conduct complained of herein was willful and in disregard of Plaintiffs

     protected rights. Defend8-nt and its supervisory personnel were aware that discrimination on the

     basis of gender was unlawful but acted in reckless disregard of the law.

        72. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

     has been exposed to ridicule and embarrassment, and has suffered emotional distress and damage.


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        73. The conduct of Defendant, by and through the conduct of its agents, employees, and/or

    representatives, and Defendant's failure to make prompt remedial action to prevent continued

    discrimination against the Plaintiff, deprived the Plaintiff of statutory rights under federal law.

        74. The actions of the Defendant andlor its agents were willful, wanton, and intentional, and

    with malice Dr reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

    Plaintiff to damages in the fOlm of compensatory and punitive damages pursuant to federal Jaw,

    to punish the Defendant for its actions and to deter it, and others, from such action in the future.

        75. Plaintiff has suffered and will continue to suffer both ineparable injury and compensable

    da.'11ages as a result of Defendant's retaliatory practices unless and until this Honorable Court

    grants relief.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

            a. Adjudge and decree that Defendant has violated Title VJl, and has done so willfully.

                 intentionally, and with reckless disregard for Plaintiffs rights;

            b. Enter ajudgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                 adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                 employment practices described herein;

            c. Enter an award against Defendant and award PlaintilT compensatory damages for

                 mental anguish, personal suffering, and loss of enjoyment of life;

            d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                 full benefits Plaintiff would have had Plaintiff not been discriminated against by

                 Defendant, or in lieu of reinstatement, award iront pay;

            e. Award Plaintiff the costs of this action, lOgetherwith a reasonable attorneys' fees; and

            f.   Grant Plaintiff snch additional relief as the Court deems just and proper under the

                                                      l~
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                circumstances.

                                             COUNT VI
                               Sexual Harassment in Violatiolt of Title VIi

        76. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-29 of this

    complaint as if set out in full herein.

        77. Plaintiff is a member of a protected class under Title VII.

        78. As part of its protections, Title VI! prohibits sexual harassment.

       79. The conduct to which Plaintiff was subjected was severe, pervasive, physically threatening,

    humiliating, and unreasonably interfered with Plaintiffs work perfom1ance in violation of Title

    Vll.

       80. The harassing conduct to which Plaintiff was subjected was perpetrated against her as a

    rcsult of her gender (female), and constituted actionable sexual harassment.

       81. Plaintiff rejected Mr. Lester's and Mr. Mowen's sexual adV8JlCes.

       82. Defendant's alleged bases for the adverse conduct against Plaintiff are pretextual and

    asserted only to cover up the harassing, discriminatory, and retaliatory nature of their conduct.

        83. As a result of the sexually harassing conduct to which Plaintiff was subjected and the

    adverse employment actions suffered by Plaintiff related thereto, Plaintiff has expericnced and will

    continue to experience significant financial and economic loss in the form of lost wages and lost

    benefits. Plaintiff has also experienced and will continue to experience emotional anguish, pain

    and suffering and loss of dignity damages.

    WHEREFORE, Plaintiff respectfully prays for the following relief against Defendant:

           a. Adjudge and decree that Defendant has violated Title VI!, and has done so willfully,

               intentionally, arId with reckless disregard for Plaintiffs rights;


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         b. Enter ajudgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

              adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

              employment practices described herein;

         c. Enter an award against Defendant and award Plaintiff compensatory damages for

              mental anguish, personal suffering, and loss of enjoyment of life;

         d. Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

              full benefits Plaintiff would have had Plaintiff not been discriminated against by

              Defendant, or in lieu of reinstatement, award front pay;

         e_ Award Plaintiff the costs of this action, together with a reasonable attomeys' fees; and

         f.   Grant Plaintiff such additional relief as the COlirt deems jllst and proper under the

              circumstances.

                                  JURY TRIAL DEMAND

         Plaintiff demands a trial by jury on each of her above claims.


                                                                                            / ....1-. --- . -.
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                                                       -'""--   ------      ------
                                                       Anthony M. O'eol'ges-Pierre, Esq.
                                                       Florida Bar "J,.; 533637
                                                       illU:lli:lligpaltor!lcys,COll1
                                                       Max L. Horowii'z, Esq.
                                                       Florida Bar No.: 118269
                                                       mhorowitz@rgpattomeys.com
                                                       REMER & GEORGES-PIERRE, PLLC
                                                       Courthouse Tower
                                                       44 West Flagler Street, Suite 2200
                                                       Miami, FL 33130
                                                       Telephone: (305) 416-5000
                                                       Facsimile: (305) 416-5005


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· Filing # 76374261 E-Filed 08113/2018 04:47:26 PM




                                                                TN THE CIRCUIT COURT OF THE lIT!!
                                                                JUDICIAL CIRCUIT TN AND FOR
                                                                MIAMI-DADE COUNTY, FLORIDA

          AlI,lANDA JONES,                                      CASE NO.:   20\"0- D71032.:5 cx:\           6l
                   Plaintiff,

          v.
          EMERALD CONSTRUCTION CORP.,
          a Florida Profit Corporation,

               Defendant
          ____________________________~f

                                           SUMMONS IN A CIVIL CASE.

          TO: EMERL\.LD CONSTRUCTION CORP., through its registered agent:

                                          MARK R. HUMBLES
                                          1211 STIRLING ROAD, #106
                                          DAN!A, FL 33()04

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEYS:

                                          ANTHONY M. GEORGES-PIERRE, ESQ.
                                          REMER & GEORGES-PIERRE, PLLC.
                                          44 WEST FLAGLER STREET
                                          SUITE 2200
                                          MIAMI, FL 33130

           an answer to the complaint which is herewith served upon you, within 20 days after service of this
           summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will
           be taken against you for the relief demanded in the complaint. You must also file your answer
           with the Clerk of 111 is COlll1 within a reasonable period oftime after service.



           CLERK                                DATE


           (BY) DEPUTY CLERK


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      Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 18 of 23

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                                                               IN THE CIRCUIT COURT OF THE] lTl!
                                                               JUDICIAL CIRCUIT IN Ju'fD FOR
                                                               IvlIAMI-DADE COUNTY, FLORIDA

          AMANDA JONES,                                        CASE NO.:   201"0 - D2Ui3'20 Cf\ 6l
                   Plaintiff,

          v.

          EMERALD CONSTRUCTION CORP"
          a Florida Profit Corporation,

                   Defendant
          ________________________                      ~I




                                             SUMMONS IN A CIVIL CASE

          TO: EMERALD CONSTRUCTION CORP., through its registered agent:

                                            MARK R. HUMBLES
                                            1211 STIRLING ROAD, #106
                                            DANIA, FL 33004

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEYS:

                                            ANTHONY M. GEORGES-PIERRE, ESQ.
                                            REMER & GEORGES-PIERRE, PLLC.
                                            44 WEST FLAGLER STREET
                                            SUITE 2200
                                            MIAMI, FL 33130

           an answer 10 the complaint which is herewith served upon you, within 20 days after service ofthis
           summons upon you, exclusive oftbe day of service. If you fail to do so, judgment by default will
           be taken against you for the relief demanded in the complaint. You lUust also file your answer
           with the Clerk of this Comt within a reasonable period oftime after service.
                                8/14/2018



           CLERK                                 DATE


           (BY)


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    Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 19 of 23

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                                                        RETURN OF SERVICE

   State of Florida                                              County of Dade                                                            Circuit Court

    Case Number: 2018·026325 CA01

    Plaintiff:
    AMANDA JONES
   vs.
    Defendant:
    EMERALD CONSTRUCTION CORP

    For:
    Anthony M. Georges·Pierre
    REMER & GEORGES-PIERRE, PLLC
    44 W. Flagler Street
    Ste 2200
    Miami, FL 33130

    Received by OJF SERVICES. INC. on the 16th day of August, 2018 at 2:37 pm to be selVed on EMARALD CONSTRUCTION
    CORP. C/O MARK R. HUMBLES, AS REGISTERED AGENT, 1211 STIRLING ROAD #106, DANIA, FL 33004.

    I, ANDREW KARP, do hereby affirm that on the 21st day of August, 2018 at 11:00 am, I:

    CORPORATE: selVed by delivering a true copy of the SUMMONS IN A CIVIL CASE with the date and hour of selVice
    endorsed thereon by me, to: GILDA PEREDA as PRESIDENT of EMARALD CONSTRUCTION CORP.1211 STIRLING
    ROAD #106, DANIA, FL 33004, and informed said person of the contents therein, in compliance with Federal Rules 01 Civil
    Procedure, Florida Statute 48.081 or other state statute as applicable.


    I CERTIFY THAT I AM OVER THE AGE OF 18, HAVE NO INTEREST IN THE ABOVE ACTION, AND THAT I AM A SPECIAL
    PROCESS SERVER APPOINTED BY THE SHERIFF, IN GOOD STANDING, IN THE JUDICIAL CIRCUIT IN WHICH
    PROCESS WAS SERVED. "UNDER PENALTY OF PERJURY, I DECLARE THAT I HAVE READ THE FOREGOING
    (DOCUMENT) AND THAT THE FACTS STATED IN IT ARE TRUE, 92.525.




                                                                                           ANDREW KARP
                                                                                           SPS #260

                                                                                           OJF SERVICES, INC.
                                                                                           13727 S.W. 152nd Street
                                                                                           P.M.B.354
                                                                                           Miami, FL 33177
                                                                                           (786) 293·5750

                                                                                           Our Job Serial Number: OJF·2018011515


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            Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 20 of 23

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                                                                                 IN THE CIRCUlT COURT OF THE J JTtl
                                                                                 JUDICIAL CIRCUlT IN AND FOR
                                                                                 MiAMf-DADE COUNTY, FLORIDA

                           AMANDA JONES,                                         CASE NO.:      20\'0- D7LP3?\5               C:f16l
                                   Plaintiff,
                                                                         Q,' C'     ,~Ih~.
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                           EMERALD CONSTRUCTION CORP"
                           a Florida Profit Corporation,                rjJe!2..e      ji;~ 1."\;""   .;/Jft-7J ,e/7·....
                                    Defendant                                       cLL..L                              {/
                           ----------------------------~/
                                                             SUlVIMONS IN ACrVIL CASE

                           TO: EMERALD CONSTRUCTION CORP" through its registered lIgent:

  l))
       .            ::;:                                    MARKR, HUMBLES                      ~ ~(0\
  /-   ..
            , .. In
                    o
                    u                                       1211 STIRUNG ROAD, #106            [cJ     . II.   V
                                                            DANiA, FL 33004
  l:' . (;.~~       ,j
  U.:       .~-
  \..1 -: ~ YOU ARE HEREBY SUM.iVlONED atlrlreqllil'cd to serve upon PLAlNTIFf'S ATTORNEYS:
  ::~~      :',,'    JJ
  ,.~.      .,:;.    V)
                     "-                                     ANTHONY M. GEORGES-PlERRE, ESQ.                                         . . '. .
  r::' ,'"           -,
   l~'      ,;:' o                                          REMER & GEORGES-PIERRE, PLLC.
   V·)      CJ'.
                      ~                                     44 WEST FLAGLER STREET
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   u..
                      ~                                     SUITE non
   o                                                        MIAMI,FL 33130

                            an answer to tbe complaint which is herewith served upon you, within 20 (by. after service ofthis
                            summons upon you, exclusive· of the day of service, If you fail to do so, judgment by default will
                            be taken ag;linst you for the relief demanded in the complaint. You must also file your answer
                            with the Clerk of this Courl within a reasonable period of time after service.       .
                                                8/14/2018


                            CLERK                                 DATE


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    Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 21 of 23

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                    IN TI-IE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        AMANDA JONES,                                        CASE NO: 2018-026325-CA-Ol

               Plaintiff,

        vs.

        EMERALD CONSTRUCTION CORP., a
        Florida profit corporation,

               Defendant.
                                                        !

              NOTICE OF APPEARANCE AND DESIGNATION OF E-MAIL ADDRESSES

               Please take notice that Pincus & Currier LLP enters an appearance as attorneys               10


        Defendant EMERALD CONSTRUCTION CORP., a Florida profit corporation in the

        above-styled calIse of action. Please direct all correspondence, pleadings, papers. etc. in this matter

        to the undersigned.

               In accordance with Fla. R. Civ. P. 1.080 and the new Fla. R. Jud. Admin. 2.5 16(b)(I)(A),

        effective Septcmber I, 2012, the following individuals nre hereby designated with the respective

        e-mail addresses    tor service of pleadings and documents in this lawsuit:

               Counsel's Name:          Romin N. Currier, Esq.,
               Primary E-Mail:          rcurrier@pincusandcnrrier.com
               Secondary E-Mail:        tstevenson@pincusandcurrier.col11
Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 22 of 23




                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served thisL3 _
    day of September, 2018, via I8J E-Mail, 0 U.S. Mail, 0 facsimile, 0 hand delivery, and/or 0
    overnight courier, upon: Anthony Georges-Pierre, Esq., Remer & Georges-Pierre, I'LLC., 44
    West Flagler Street, Suite 2200, Miami, FL 33130. illiP@rgpattornevs.conl; Max 1. Horowitz,
    Esq., Remer & Georges-Pien-e, PLLC., 44 West Flagler Street. Suite 2200, Miami, FL 33130,
    mhoJ;.owitz@rgpatton:!£y's.C.91)}.

                                           PINCUS & CURRIER LLP
                                           324 North Lakeside Court
                                           West Palm Beach, FL 33407
                                           E-Mail: rcurrier(@.pincusandcurrier.com
                                                   tstevens()n@pincusandcuITier.c0t11

                                           Telephone:      (561) 868-1340
                                           Facsimile:      (561) 366-1310


                                           By:    ;;?;~C'6,~
                                                 Romin N. Currier, Esq.,
                                                 Florida Bar No.: 566985
Case 1:18-cv-23833-FAM Document 1-2 Entered on FLSD Docket 09/17/2018 Page 23 of 23




                                                                                        Case Typ"                                             Status           Contested   Jury Trial
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